          Case 6:03-cr-60006-RTD Document 232                                Filed 04/03/08 Page 1 of 1 PageID #: 27
                              Motionfor SsntcnccReductien
hAo 247 (02/0lt) OrderReBoJding


                                 UurrenStRrpsDrsrmcrCouRr
                                                                    for the
                                                    WestornDistrictof Arkansas

                  UnitedStstesof America                                 ,
                                                                         )
                                                                         ) CaseNo: 6:03CR60006-002
                    JamesMendenhall
                                                                         J USMNo: 07273-010     _
DateofPreviousJudgment:April 20,2004                                     ) nrQ$e
(UseDtrteoft.sst AmendcdJudgmcntifApplic$le)                             )   Ddl'endffit's Attorney


                  Order RegardingMotion for SentenceReductionPursuant to l8 U'S'C' $ 3582(cXz)

       Uponmotionof /thu d.f"nd"nt ft the Directorof thoBuroauof Prisons 5 the courtunderl8 U.S.C.
                                                                                        rangethathas
                                                     imposodhasedon a guidelinesontenoing
$ 3582(c)(2)for a rcduotionin the tenn of imprisonment
subsequently beenloworedandmaderetroactiveby the UnitedStatosSentencing   Commission        to 28 U.S.C.
                                                                                     pursuant
$ 994(u),andhavingoonsiderod    suohrnotion,
                               is:
IT IS ORDEREI) that the,,;motion
                                                                                      (asreflectcd
                                                                     of irnprisoflffiont
       D DENIED. Er GRANTEDandthe dofendant'spreviouslyimposodsentence                          in
                                        issu"d)of
                           thelastjudgment               -*-__=*00-                       months lt reduced to                   49
I. COI]RT DETERMTNATION OF GUIDELINE RANGE (Prior to Any DepArtures)
PreviousOffonseLevel:       33             AmendedOffonseLevel:                                                            J I

Ctiminal HistoryCategory:                  CriminalHistoryCategory:                                                          I
PreviousGuidelineRango: _![  to 168 months Amended     GuidelinoRange:                                               1 0 8 to 135 months
 II, SENTENCEREI.ATIVE TO AMENDED GUIDELINE RANGE
 D /he reducedscntoncois within the amendedguidelinerange.
#The previoustermof imprisonmentimposetlwaslossthantho guidelinerangeapplioableto the defendantat the time
                                                                                 is oomparablylessthantho
                                                            andthe roducedsentenoo
     ofsontsnoingasa resultofa departuroor Rule35 redrrction,
     amended guidolinorange.
 D Other(cxplain):




III. ADDITIONALCOMMENTS




Exoeptasprovidedabovo,all provisionsofthejudgmontdated                                            shallremainin effect.
IT IS SO ORDER-ED.

Order Date:
                                               DISTRICT
                                                      COURT                                             Judgc'ssignature
                                                DISTF?ICT
                                                       ARKANSAS
                                         FILED                                                  T, Dawson,U.S.DjEtdq!.ludge
                                                                                 tlonorableRobort-
Effective Daft:
                                "-ffid"GnPR0 I mB
                    Er,rirk.rrrr"r                                                                    Printcdn te Bndtitle

                                                 fl. Joill{$oi!,cltll(
                                             0HRl{i
                                    sl
                                                        OI'EAK
                                                  I]LFUTY
